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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK


KOBRE & KIM LLP,                         Case No. 19-cv-10151 (LAK) (OTW)

               Plaintiff,

  -    v. -


COMMODITY FUTURES TRADING
COMMISSION,

                            Defendant.



  MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S MOTION FOR
      SUMMARY JUDGEMENT AND IN SUPPORT OF PLAINTIFF’S
           CROSS-MOTION FOR SUMMARY JUDGEMENT

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                                PRELIMINARY STATEMENT

       Plaintiff Kobre & Kim LLP (“Kobre & Kim”) respectfully submits this memorandum of

law pursuant to Fed. R. Civ. P. 56 and the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

in opposition to the motion for summary judgement of Defendant Commodity Futures Trading

Commission (“CFTC”) and in support of Kobre & Kim’s cross-motion for summary judgement.

Relief is appropriate for two reasons: (1) the CFTC’s search for information responsive to Kobre

& Kim’s FOIA Requests (the “FOIA Requests”) was inadequate because it improperly excluded

responsive information from August 20-21, 2019; and (2) with respect to the search the CFTC did

conduct, the CFTC is withholding or redacting volumes of information through an overbroad and

improper application of two FOIA Exemptions.

       Kobre & Kim’s FOIA Requests are important to the public’s understanding of the CFTC’s

unprecedented gag settlement and confidentiality breaches in the landmark case, Commodity

Futures Trading Comm’n v. Kraft Foods Grp., Inc., Case No. 15-cv-2881 (N.D. Ill.) (hereafter,

“Kraft”). On August 14, 2019, the CFTC announced the settlement of a closely watched market

manipulation case it brought in April 2015 against Kraft Foods Group, Inc. and Mondelēz Global

LLC (collectively, “Kraft”). The circumstances surrounding the settlement were highly unusual

and deserving of public scrutiny in numerous respects.

       First, the public consent order formalizing the settlement and imposing $16 million in

penalties on Kraft (the “Consent Order”) contained no findings of fact or conclusions of law. In

other words, the Consent Order left the public in the dark as to what conduct or legal interpretations

might have justified such an exercise of the agency’s enforcement power.

       Second, the CFTC agreed to an unprecedented “gag” provision in the Consent Order that

attempted to prohibit the agency from ever supplying explanations to the public.




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       Third, after the Consent Order was entered on August 14, 2019, the Commission, the CFTC

Press Office, and two Commissioners issued press releases (the “Press Releases”) about the

settlement extolling the importance of public disclosure and accusing Kraft of market

manipulation, in apparent violation of the Consent Order that had just been entered.

       Fourth, the Press Releases were later retracted and erased from the CFTC’s website on

August 19, 2019 after Kraft initiated contempt proceedings.

       Fifth, after extensive briefing and a hearing, the Kraft court granted in part a motion for

contempt after finding “egregious misconduct” by the CFTC. Minute Entry, Kraft, Case No. 15-

cv-2881, Dkt. No. 378 (N.D. Ill. Feb. 14, 2020).

       Kobre & Kim’s FOIA Requests seek to promote the public’s understanding of these

extraordinary events and help the public evaluate the CFTC’s actions relative to its stated mission

of fostering open, transparent, and competitive markets. To date, the CFTC has refused to provide

the public disclosures required by FOIA. By this motion, Kobre & Kim seeks to compel two

primary categories of information that are being improperly withheld.

       First, as already fully briefed in Kobre & Kim’s pending Motion to Compel Defendant To

Extend Document Search (“Motion to Compel”) (Dkt. No. 24), the CFTC arbitrarily refused to

search for records during the two days following its August 19 retraction of the Press Releases.

This two-day period goes to the very heart of Kobre & Kim’s FOIA Requests because it is highly

likely to contain a trove of informative, non-privileged communications about the settlement, gag

order, and Press Releases. With this in mind, Kobre & Kim specifically asked the CFTC to search

this period at the beginning of this case, before the CFTC initiated its document collection. The

CFTC refused and instead sought to strategically avoid any obligation to produce records from

this critical two-day period by omitting those dates from its search over Kobre & Kim’s objection.




                                                   2
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        Second, as for the search the CFTC did conduct, it is withholding the vast majority of

information responsive to the FOIA Requests based on what appear to be overbroad assertions of

two FOIA exemptions: the deliberative process exemption and the so-called law enforcement

exemption. As described in detail below, the record suggests that neither of these exemptions

apply to entire categories of documents being withheld, including communications with the

CFTC’s Office of Public Affairs (“OPA”), draft Press Releases, and communications about the

public messaging of the settlement.            Indeed, given the Kraft court’s finding of “egregious

misconduct,” the “government misconduct exception” to the FOIA exemptions requires

production of these documents. See In re Sealed Case, 121 F.3d 729, 738 (D.C. Cir. 1997)

(“[W]here there is reason to believe the documents sought may shed light on government

misconduct, the [deliberative process] privilege is routinely denied.”).

        For these and the additional reasons provided below, this Court should deny the CFTC’s

motion for Summary Judgment and (A) compel the CFTC to search for and produce responsive

records during the Period August 20-21, 2019; (B) order the CFTC to produce the improperly

withheld or redacted documents described in detail below; and (C) order the CFTC to supplement

its Vaughn index to allow meaningful assessment of its other claims of exemption. 1

                                              BACKGROUND

        A. The Kraft Consent Order, The Ensuing Public Statements, And Kraft’s Motion
           For Contempt.

        On August 14, 2019, the District Court for the Northern District of Illinois entered a

Consent Order formalizing the settlement of the landmark market manipulation enforcement action



1
  The CFTC claims that “[d]espite requests from the CFTC, Plaintiff has not identified what non-exempt documents
it would hope to receive in response to the Request.” Dkt. No. 34 at 1. In fact, during a meet and confer on August
14, 2020, Kobre & Kim requested that the CFTC produce a draft Vaughn index in advance of the CFTC’s summary
judgement filing in order to allow Kobre & Kim to provide the CFTC with a narrowed set of disputed withholdings.
The CFTC refused to do so.



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the CFTC had brought against Kraft in April 2015. See Consent Order, Kraft, Case No. 15-cv-

02881, Dkt. No. 310 (N.D. Ill. Aug. 14, 2019). The CFTC and Kraft had agreed to the material

terms of this settlement during a settlement conference on March 22, 2019, long before the Consent

Order was approved on August 14, 2019. See Ex. A at 4.

       Kraft was the CFTC’s first litigated enforcement action applying the newly enacted Section

6(c)(1) of the CEA (enacted by Congress as part of Dodd-Frank in 2010, 7 U.S.C. § 9(1)) and

CFTC Rule 180.1 implementing Section 6(c)(1) (enacted by the CFTC in 2011, 17 C.F.R. § 180.1)

to allegations of market manipulation. Before the settlement, the Kraft court had rejected the

CFTC’s legal theory that Section 6(c)(1) and Rule 180.1 prohibit manipulation even in the absence

of fraud, describing that theory as so expansive as to prohibit “something as simple as ‘buy low,

sell high’ trading based on market trend lines, or any other plan for trading aimed at profit making

. . . an interpretation prohibiting such activity would be absurd.” Kraft, 153 F. Supp. 3d 996, 1008

(N.D. Ill. 2015). While the Kraft case remained pending, Judge Sullivan of the Southern District

of New York also rebuked the CFTC’s Enforcement Division for prosecuting a different market

manipulation case “based on little more than an ‘earth is flat’-style conviction that … manipulation

must have happened[.]” Commodity Futures Trading Comm’n v. DRW Investments, LLC, Case

No. 13-cv-7884 (RJS), 2018 WL 6322024, at *21 (S.D.N.Y. Nov. 30, 2018). In the wake of the

DRW case and the resulting uncertainty surrounding the CFTC’s market manipulation authority,

the industry was closely following the Kraft case for clues as to what standards the CFTC would

apply going forward.

       In August 2019, the CFTC filed the Kraft Consent Order, requiring Kraft to pay a penalty

of US $16 million. See Consent Order, Kraft, Case No. 15-cv-02881, Dkt. No. 310 at 4 (N.D. Ill.

Aug. 14, 2019). The Consent Order did not include any findings of fact or law, nor any explanation




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as to why that settlement amount was appropriate. In other words, the CFTC extracted $16 million

from a market participant in a high-profile case without explaining why. Not only is such a

settlement contrary to the CFTC’s own policies as explained in the Press Releases themselves (see

Ex. B at 1), but it also raises serious concerns about arbitrary and capricious enforcement. 2

        Compounding these concerns, the Consent Order also contained an unprecedented “gag”

provision barring the CFTC from discussing in public the factual or legal bases for the settlement.

See Consent Order, Kraft, Case No. 15-cv-02881, Dkt. No. 310 at 3 (N.D. Ill. Aug. 14, 2019). In

this way, the settlement sought to ensure that no reasoning would ever be provided for the

settlement, thus insulating it completely from public scrutiny and accountability.

        On August 15, despite the gag provision, CFTC Commissioners Berkovitz and Behnam

issued a joint press release in which they acknowledged and criticized the settlement’s “unusual

features,” namely, the Consent Order’s lack of “factual findings or conclusions of law” and

limitation on future statements “to information already in the public record.” Ex. B at 1. The

Commissioners also expressed their view that “the Commission should not accept any

confidentiality provisions or restrictions on the Commission’s ability to make public statements.”

Id. at 2. The Commissioners nonetheless justified their approval of the settlement by cryptically

suggesting that the public should “presume[] that the Commission has provided sufficient evidence

to find a violation—even where the order itself does not explicitly say so.” Id. at 2. Signaling its

uneasiness with the gag provision, the Commission issued a separate statement touting the

“successful resolution” of the Kraft case and stating that its “decision to approve the Consent Order


2
  To Kobre & Kim’s knowledge, the only other time this has ever happened in CFTC history was in the CFTC’s
enforcement action against Brian Hunter. See Consent Order, Commodity Futures Trading Comm’n v. Hunter, Case
No. 7-cv-6682 (RA), Dkt. No. 157 (S.D.N.Y. Sept. 15, 2014). The CFTC’s settlement of that case without findings
of fact or conclusion of law led to a Congressional inquiry. See Letter from Senators Dianne Feinstein, Maria
Cantwell, and Carl Levin to Timothy Massad (Oct. 8, 2014), https://www.feinstein. senate.gov/public/_cache/files
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was based on the fact that [the ‘gag’ provision] . . . does not restrict individual Commissioners

when speaking in their personal capacities.” Ex. C at 1. 3

         On August 16, 2019, Kraft moved for contempt against the CFTC for violating the Consent

Order, alleging that the CFTC “never intended to comply with the agreement they negotiated [and]

. . . engaged in a deliberate, orchestrated effort to violate the Court’s Consent Order within minutes

of its entry” to “accomplish exactly what the CFTC specifically agreed not to do” (i.e., comment

publicly about the settlement, implying that Kraft admitted to market manipulation). In the matter

of Commodity Futures Trading Comm’n, Case No. 19-2769, Dkt. No. 2 at 99 (7th Cir. Sept. 13,

2019).

         On August 19, 2019 at the evidentiary hearing on Kraft’s contempt motion, the CFTC

“agree[d] to voluntarily remove the disputed press releases immediately from the CFTC website

until the next court date.” Order, Kraft, Case No. 15-cv-02881, Dkt. No. 319 (N.D. Ill. Aug. 19,

2019). The CFTC asserts that this decision was made “on the spot” by a Staff attorney at the

hearing. Dkt. No. 34 at 10. On October 22, 2019, following the CFTC’s petition for a writ of

mandamus to stop the contempt proceedings, the Seventh Circuit issued a decision recognizing the

importance of public accountability and cautioning that the mere inclusion of a gag order in a

settlement “does not authorize secret adjudication” of CFTC enforcement actions. In the matter

of Commodity Futures Trading Comm’n, 941 F.3d 869, 872-73 (7th Cir. 2019). The District Court

then vacated the settlement, emphasizing that “no secret adjudication has been, or will be,

authorized.” Minute Entry, Kraft, Case No. 15-cv-02881, Dkt. No. 355 (N.D. Ill. Oct. 23, 2019).

         On February 13, 2020, the CFTC informed the court that the parties had another

“agreement in principle,” ready for approval by the Commission. Hearing Transcript, Kraft, Case


3
 In addition to the Berkovitz and Behnam press release, the CFTC Press Office also released a third statement on
August 15, 2019 announcing the settlement. See Ex. D.



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No. 15-cv-02881, Dkt. No. 379 at 3 (N.D. Ill. Feb. 28, 2020). On February 14, 2020, the court

granted in part Kraft’s motion for contempt “given the egregious misconduct by [the CFTC].”

Minute Entry, Kraft, Case No. 15-cv-2881, Dkt. No. 378 (N.D. Ill. Feb. 14, 2020). The court

stated it would issue further “findings of fact and conclusions of law by separate order.” Id.

         B. Kobre & Kim’s FOIA Requests And The CFTC’s Withholdings.

         Kobre & Kim delivered its FOIA Requests to the CFTC on August 21, 2019, shortly after

the CFTC removed the Press Releases from its website. A copy of Kobre & Kim’s FOIA Requests

is attached hereto as Exhibit E. After the CFTC failed to respond or even acknowledge receipt for

over two months, Kobre & Kim filed this action on October 31, 2019, as authorized by FOIA. 4

See Dkt. No. 1.

         On May 1, 2020, Kobre & Kim filed its Motion to Compel, seeking an order compelling

the CFTC to search its records for responsive information during the period August 20-21, 2019,

i.e., the two days immediately following the CFTC’s retraction of the Press Releases on August

19, 2019. See Dkt. No. 24. The Motion to Compel remains fully briefed and pending.

         The CFTC purported to complete its production of documents on July 30, 2020. Dkt. No.

30. It has redacted virtually all substantive material from the production, asserting in blanket

fashion that its records are exempt under FOIA, privileged, or constitute attorney work product.

Of the 1,873 produced documents, 1,243 (66%) are redacted. 5 The produced documents that were

not redacted consist mainly of public articles, court filings, and images of the CFTC seal.




4
  The CFTC initially claimed in the media that it never received the FOIA Requests, but later recanted once it became
obvious that the FOIA Requests had, in fact, been properly delivered to and received by the CFTC’s FOIA Office.
See Rachel Graf, CFTC Accused Of Withholding Docs About ‘Secret’ Kraft Deal, Law360 (Nov. 1, 2019),
https://www.law360.com/articles/1216033/ cftc-accused-of-withholding-docs-about-secret-kraft-deal (“CFTC told
Law360 it has no record of the request”); Dkt. No. 16 (“CFTC’s FOIA Office did not become aware of the request
until November 1, 2019”).
5
  409 of these documents are fully redacted, and 834 are partially redacted.



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       On October 19, 2020, the CFTC moved for summary judgment, submitting a declaration

of Rosemary Bajorek, Attorney-Advisor to the CFTC, and a Vaughn index purportedly explaining

its withholdings. See Dkt. No. 35. Ms. Bajorek’s Declaration and the Vaughn index provide only

conclusory explanations and do not permit a meaningful assessment of the CFTC’s withholdings

on their merits. In particular, the CFTC’s Vaughn index simply repeats the same four conclusory

explanations for all 1,243 redacted or withheld documents:

           •   Email chain containing predecisional deliberative communications about
               settlement strategy[.]
           •   The email contains mental impressions and opinions about settlement strategy.
           •   Such communications are also made for the purpose of seeking and providing legal
               advice.
           •   The information, if produced, could reasonably be expected to interfere with the
               Kraft enforcement proceeding.
CFTC’s Vaughn index, Dkt. No. 35, Ex. 1 at 1, 2, 11, 20, 11.

       Ms. Bajorek’s Declaration essentially repeats the same conclusory statements found in the

Vaughn index, almost verbatim, and likewise fails to explain specific grounds for withholdings.

For example, she asserts that virtually all communications are subject to the deliberative process

privilege because they are “pre-decisional in nature” without identifying the purported policy

decisions to which each communication allegedly relates. Dkt. No. 35 at 6. Ms. Bajorek likewise

states in conclusory fashion that all communications surrounding the contempt proceedings were

“compiled for law enforcement purposes and that, if produced, could cause foreseeable harm to

the Kraft enforcement case” without offering any detail. Id. at 8.

                                     LEGAL STANDARD

       FOIA was enacted “to ensure an informed citizenry, vital to the functioning of a democratic

society, needed to check against corruption and to hold the governors accountable to the

governed.” NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978); also Nat’l Council of



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La Raza v. Dep’t of Justice, 411 F.3d 350, 355 (2d Cir. 2005) (quoting Grand Cent. P’ship, Inc. v.

Cuomo, 166 F.3d 473, 478 (2d Cir. 1999)). FOIA “seeks to permit access to official information

long shielded unnecessarily from public view and attempts to create a judicially enforceable public

right to secure such information from possibly unwilling official hands.” New York Times Co. v.

U.S. Dep’t of Justice, 939 F.3d 479, 488 (2d Cir. 2019). “The touchstone of any proceedings under

the Act must be the clear legislative intent to assure public access to all governmental records

whose disclosure would not significantly harm specific governmental interests. The policy of the

Act requires that the disclosure requirement be construed broadly, the exemptions narrowly.”

Soucie v. David, 448 F.2d 1067, 1080 (D.C. Cir. 1971); see also Grand Cent. P’ship, 166 F.3d at

478 (“[T]he Act is to be construed broadly to provide information to the public in accordance with

its purposes; for the same reason, the exemptions from production are to be construed narrowly.”).

       In light of the policy favoring broad public disclosure, FOIA “requires that agencies

conduct a search ‘reasonably calculated to uncover all relevant documents,’ not ‘most’ relevant

documents.” Nat’l Day Laborer Org. Network v. Immigration and Customs En’t Agency, 877 F.

Supp. 2d 87, 102 (S.D.N.Y. 2012) (emphasis in original). “[I]f challenged, [the agency] must

demonstrate ‘beyond material doubt’ that the search was reasonable.” Truitt v. Dep’t of State, 897

F.2d 540, 542 (D.C. Cir. 1990); see also Carney v. Dep’t of Justice, 19 F.3d 807, 812 (2d Cir.

1994) (recognizing “the defending agency has the burden”).

       When an agency seeks to withhold responsive information under one of the FOIA

exemptions, the law is clear that due to “the strong presumption in favor of disclosure, the agency

bears the burden . . . to justify the withholding of any requested documents.” Am. Civil Liberties

Union v. Dep’t of Def., 752 F. Supp. 2d 361, 364 (S.D.N.Y. 2010) (quoting Associated Press v.

Dep’t of Def., 554 F.3d 274, 283 (2d Cir. 2009)); U.S. Dep’t of State v. Ray, 502 U.S. 164, 173




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(1991) (The burden of proof “remains with the agency when it seeks to justify the redaction of

identifying information in a particular document as well as when it seeks to withhold an entire

document.”). To justify withholdings, an agency should submit “[a]ffidavits or declarations

supplying facts indicating that the agency has conducted a thorough search and giving reasonably

detailed explanations why any withheld documents fall within an exemption.” Carney, 19 F.3d at

812. “[C]onclusory affidavits that merely recite statutory standards, or are overly vague or

sweeping will not . . . carry the government’s burden.” Larson v. Dep’t of State, 565 F.3d 857,

864 (D.C. Cir. 2009).

         Summary judgment may not be granted to a government agency when the search it

conducted deliberately avoided searching for relevant information. See Ruotolo v. Dep’t of Justice,

Tax Div., 53 F.3d 4, 11 (2d Cir. 1995) (finding summary judgement inappropriate when the agency

failed to search for documents for which Plaintiff provided a “reasonable description” and agency

did not demonstrate that search would be “unduly burdensome”). Likewise, summary judgment

may not be granted if the requester “provide[s] some tangible evidence that an exemption claimed

by the agency should not apply or summary judgment is otherwise inappropriate.” Carney, 19

F.3d at 812. 6

                                                  ARGUMENT

         The Court should deny the CFTC’s motion for summary judgment and instead order the

CFTC to: (A) conduct an adequate search for responsive information during the two-day period

following its takedown of the Press Releases; (B) produce documents being improperly withheld




6
  The Court has the option of reviewing documents in camera where the agency’s justifications for withholding are
found to be insufficient. See Ferguson v. F.B.I., 752 F. Supp. 634, 637 (S.D.N.Y. 1990) (finding that “in the interests
of judicial economy and the strong public interest in disclosure, as well as the conclusory nature of the agency
affidavits in applying the exemptions to thousands of documents, the Court will conduct an in camera review”); see
also 5 U.S.C. § 552(a)(4)(B) (authorizing in-camera review under FOIA).



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under FOIA Exemptions 5 and 7(A); and (C) amend its Vaughn index, so that Kobre & Kim can

assess potential additional challenges to the remaining withholdings. Kobre & Kim reserves its

right to challenge additional withholdings, consistent with the Court’s rulings.

       A. The CFTC’s Search Was Unreasonable Because It Deliberately Avoided
          Following A Clear and Certain Lead For Documents On August 20-21, 2019.

       The CFTC’s motion for summary judgement essentially argues that the agency should be

allowed to turn a blind eye to responsive records from August 20-21, 2019 simply because it

conducted a broader search for records on other days. Records from August 20-21, 2019 are highly

likely to contain non-privileged information responsive to the FOIA Requests, yet the CFTC

deliberately refused to include those two days in its search. This cynical approach amounts to

willful blindness preventing a grant of summary judgment in the CFTC’s favor.

        FOIA “requires that agencies conduct a search ‘reasonably calculated to uncover all

relevant documents,’ not ‘most’ relevant documents.” Nat’l Day Laborer, 877 F. Supp. 2d at 102

(emphasis in original), and to “pursue any clear and certain lead [that] it cannot in good faith

ignore.” Am. Immigr. Council v. Exec. Office for Immigr. Review, 418 F. Supp. 3d 10, 15

(S.D.N.Y. 2019) (quoting Halpern v. FBI, 181 F.3d 279, 288 (2d Cir. 1999)). This standard applies

both to the “thoroughness and comprehensiveness of agency search procedures” and to the

“temporal limit” on the agency’s search. McGehee v. CIA, 697 F.2d 1095, 1101 (D.C. Cir. 1983).

        It should go without saying that an agency cannot deliberately structure a search to avoid

finding relevant information. For example, in Ferguson v. U.S. Dep’t of Educ., Case No. 09-cv-

10057 FM, 2011 WL 4089880 (S.D.N.Y. Sept. 13, 2011), the court held that the agency’s cut-off

date was unreasonable because “it was likely that the Department would create new responsive

records between the date of [the FOIA request] and the commencement of the agency’s search,”

where the agency used the date of Plaintiff’s request as the cut-off date but failed to offer any



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“compelling justification for its decision to limit its search . . . to records that were created on or

before [that date.]” Id. at *10-11. The court then ordered the agency to produce all records created

between the date of the request and the date that the agency commenced its search. Id. at *12.

        The same reasoning applies here. Kobre & Kim notified the CFTC at the beginning of

this case, before it began its document search, that documents from August 20-21, 2019 were

critical to the FOIA Requests, since those were the two days directly following the CFTC’s

decision to retract the Press Releases. See Ex. F at 3, 12 (Emails from Leanne Bortner, Dec. 19,

2019; Jan. 14, 2020). Rather than conduct an appropriate search, however, the CFTC inexplicably

refused to search for records on those days. Far from being “reasonably calculated to uncover all

relevant documents,” as required by FOIA (see Nat’l Day Laborer, 877 F. Supp. 2d at 102), the

CFTC specifically designed a search to avoid finding relevant documents created on critical dates.

       The CFTC cannot prevail at summary judgment with an affidavit stating that the remainder

of its search was reasonably conducted. If that were the law, an agency could strategically avoid

producing documents that it does not want to make public simply by refusing to search the most

relevant days, exactly as the CFTC has done here. Such a result would be incompatible with the

purpose and policy of FOIA and the “judicially enforceable public right to secure such information

from possibly unwilling official hands.” New York Times Co., 939 F.3d at 488.

        To date, the CFTC has offered only feeble excuses for its refusal to search for documents

from August 20-21, 2019. First, the CFTC suggested in meet and confer discussions that searching

these days would impose an “undue burden.” See Ex. F at 4. The most the CFTC proffers in

support of its summary judgment motion, however, is attorney speculation that expanding the date

range for its search by two days might yield a “high volume of non-responsive, privileged

documents.” Ex. F at 4. That is not the standard for demonstrating undue burden. As this Court




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explained in Seife, the agency “bears the burden to provide [a] sufficient explanation as to why

such a search would be unreasonably burdensome,” and when, as here, the agency “provides no

information regarding . . . the level of difficulty of, or amount of time required by, the search

process itself” and does not demonstrate “with reasonable specificity the actual burden . . . the

Court cannot conclude that a response . . . would in fact be unduly burdensome.” Seife v. U.S.

Dep’t of State, 298 F. Supp. 3d 592, 612 (S.D.N.Y. 2018). Here, the CFTC has refused to disclose

the number of documents that these two days would add to its review, thereby preventing Kobre

& Kim (and the Court) from meaningfully evaluating its claim. Moreover, it is difficult to see

how the CFTC could reasonably object to searching just two additional days on burden grounds,

even as it agreed to conduct a search covering approximately 180 days. See Dkt. No. 35, Ex. 2.

        Second, the CFTC wrongly suggests in its motion that Kobre & Kim’s request for

documents from August 20-21, 2019 is “speculative.” Dkt. No. 34 at 10. This argument ignores

that the sequence of events leading up to this two-day period logically dictates that the

Commissioners, their staffs, and/or other implicated CFTC employees would have discussed the

gag provision and the Press Releases immediately following the CFTC’s extraordinary decision to

retract them.    Indeed, just days earlier, the Commissioners had publicly asserted their

uncompromisable legal right and ethical duty to publish their views about the CFTC’s enforcement

action—rights that they said were critical to their “decision to approve the Consent Order.” Ex. C

at 1; see also Ex. B. The statement of Commissioners Berkovitz and Behnam asserted that

“Commissioners, as public officials, must be able to explain to Congress and the public the basis

for the sanctions obtained, as well as the rationale for entering into a settlement agreement rather

than pursuing litigation…[I]t is critical that a Commissioner be able to speak publicly about his

or her reasons for determining that the law has been violated, why the agreed penalties are




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appropriate, and why the agency did not obtain findings of fact or proceed to trial. The public has

a right to know whether federal agencies are obtaining appropriate remedies when the law is

violated . . . . Congress has recognized the importance of such unrestrained communications by

providing Commissioners with a statutory right to publicly state their views on matters before the

Commission.” Ex. B at 1 (emphasis added). Given these views, it would be astounding if a CFTC

Staff attorney’s “on the spot” retraction of the Press Releases on August 19, 2019 did not spark

vigorous comment within the agency, particularly since these events were being covered by

various news outlets on the days at issue. See e.g., Michael W. Brooks and Robert E. Pease, CFTC

v. Kraft Dispute Continues with CFTC on Defensive, Nat’l Law Review (Aug. 20, 2019),

https://www.natlawreview.com/article/cftc-v-kraft-disputecontinues-cftc-defensive; Matt Levine,

Hire     Banks    to    Look    After    Your     Banks,    Bloomberg      (Aug.     20,    2019),

https://www.bloomberg.com/opinion/articles/2019-08-20/hire-banks-to-lookafteryour-banks.

        Third, the CFTC argues that it should not be required to search documents from August

20-21, 2019 “given that the CFTC was still engaged in an active enforcement proceeding at that

time (as it is now) and the majority of documents responsive to any of Plaintiff’s requests are

covered by multiple privileges.” (Dkt. No. 34 at 10). This argument has several flaws. As an

initial matter, the Kraft Consent Order was in effect as of August 20-21, 2019. See Minute Entry,

Kraft, 15-cv-02881, Dkt. No. 355 (N.D. Ill. Oct. 23, 2019). Thus, communications during August

20-21, 2019 did not relate to an “active” enforcement proceeding at that time—the enforcement

case was over, with only a contempt proceeding against the CFTC to be adjudicated. Although

the Consent Order was later torn up by the Court sua sponte due to the CFTC’s misconduct, the

fact remains that it was still in effect on August 20-21, 2019. Furthermore, even if portions of

communications on August 20-21, 2019 contained some exempt information, the CFTC still needs




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to produce non-exempt portions of those communications, including factual material and

discussions about the reasons for its prior decisions to agree to the gag provision, to publish the

Press Releases, and to retract the Press Releases. 5 U.S.C. § 552(a)(8)(A)(ii)(II). Ultimately, since

the CFTC refused to even search for records during this period or include them in its Vaughn index,

it should not be allowed to speculate that those records might potentially be exempt.

       B. The CFTC Is Improperly Withholding Records From The Remainder Of The
          Search It Did Conduct.

       The CFTC has relied on FOIA Exemptions 5 and 7(A) to redact or withhold virtually all

substantive information from its production. These Exemptions appear not to apply to entire

categories of withheld documents, as described below. Kobre & Kim focuses the Court’s attention

on the most glaring examples that it could identify from the information currently available to it.

Given the generic descriptions in the CFTC’s Vaughn index and the Bajorek Declaration, Kobre

& Kim reasonably expects that it would be able to identify additional categories of improperly

withheld information if and when the CFTC is required to provide a more detailed Vaughn index.

               1. The CFTC Is Improperly Asserting FOIA Exemption 5.

       The CFTC asserts Exemption 5 as a basis to withhold information from 1,083 (87%) of the

redacted documents.      Exemption 5 protects from disclosure “inter-agency or intra-agency

memorandums or letters which would not be available by law to a party . . . in litigation with the

agency.” 5 U.S.C. § 552(b)(5). In essence, Exemption 5 protects documents covered by an

applicable legal privilege, including attorney-client privilege, attorney work product, or the

deliberative-process privilege.

       “In light of the FOIA’s strong policy in favor of disclosure . . . Exemption 5 is to be

construed ‘as narrowly as consistent with efficient Government operation.’” Petroleum Info. Corp.

v. U.S. Dep’t of Interior, 976 F.2d 1429, 1434 (D.C. Cir. 1992). To sustain a withholding under



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the deliberative process privilege, the primary privilege relied on by the CFTC, the CFTC must

show that the withheld information is both (1) “deliberative” and (2) “pre-decisional.” See

Hopkins v. U.S. Dep’t of Housing & Urban Dev., 929 F.2d 81, 84 (2d Cir. 1991); Renegotiation

Bd. v. Grumman Aircraft Eng’g Corp., 421 U.S. 168, 184 (1975).

        The deliberative process privilege does not shield all communications related to every

decision an agency or its personnel might make. If it did, the Exemption would swallow the rule

of broad disclosure because virtually any communication could be framed as relating in some way

to some decision. Rather, to be “deliberative” for purposes of Exemption 5, the communication

must be “actually . . . related to the process by which policies are formulated.” Hopkins, 929 F.2d

at 84 (emphasis added). “[T]he privilege does not protect a document which is merely peripheral

to actual policy formation; the record must bear on the formulation or exercise of policy-oriented

judgment.” Grand Cent. P’ship, 166 F.3d at 482 (emphasis added).

        Exemption 5 also does not shield discussions of prior agency decisions. Thus, it does not

protect “postdecisional memoranda setting forth the reasons for an agency decision already made.”

Renegotiation Bd., 421 U.S. at 184. Documents that discuss “already formulated policies—even

if in draft format, and even if containing ‘deliberative’ discussions of how to portray those policies

to the public—are not protected by the deliberative process privilege[.]’” Nat’l Day Laborer Org.

Network v. Immigration & Customs En’t Agency, 811 F. Supp. 2d 713, 743 (S.D.N.Y. 2011)

(emphasis added); see also Nat’l Labor Relations Bd. v. Sears, Roebuck & Co., 421 U.S. 132, 151

(1975) (“It is difficult to see how the quality of a decision will be affected by communications with

respect to the decision occurring after the decision is finally reached; and therefore equally difficult

to see how the quality of the decision will be affected by the forced disclosure of such

communications[.]”).




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           Exemption 5 also does not shield the underlying facts that were considered as part of a

deliberative process. See Grand Cent. P’ship, 166 F.3d at 482 (“The privilege does not, however,

as a general matter, cover ‘purely factual’ material.”). If a communication reflects both underlying

facts and deliberative communications, the underlying facts being considered must be disclosed.

See Providence Journal Co. v. U.S. Dep’t of Army, 981 F.2d 552, 559 (1st Cir. 1992) (recognizing

that “segregable factual portions of the document might still be subject to compelled disclosure”).

           Here, the CFTC appears to be improperly invoking FOIA Exemption 5 to withhold

information about at least the following categories of non-protected information: (a)

communications with officials from the CFTC’s Office of Public Affairs (the “Public Affairs

Documents”) taking place after the Enforcement Division had a “final [consent] order” on May

29, 2019 (Ex. G at 2); (b) drafts of the Press Releases also prepared after the Division of

Enforcement had a final consent order (id.); and (c) documents concerning public messaging after

the Kraft settlement was published (the “Settlement Messaging Documents”, and all together, the

“Public Relations Documents”). For the Court’s reference, the Public Relations Documents, to

the extent they could be gleaned from the CFTC’s Vaughn index, are listed in Exhibit H hereto.

                             a. The CFTC Is Improperly Applying FOIA Exemption 5 To Shield
                                Public Affairs Documents.

           The CFTC appears to be improperly withholding swaths of communications with officials

from the CFTC’s Office of Public Affairs after the Enforcement Staff “ha[d] a final [consent]

order” on May 29, 2019. 7 Agency discussions about “how frank to be with the public about what

the agencies’ policies are . . . are not the sorts of deliberative discussions that the privilege is

intended to protect; these are the sorts of discussions that FOIA is intended to reveal.” Day

Laborer, 811 F. Supp. 2d at 741. Indeed, agency discussions about public messaging are essential


7
    The Public Affairs Documents are identified in Exhibit H hereto.



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to examining discrepancies between an agency’s internal and public statements, precisely “the type

of concern that FOIA seeks to vindicate.” Id. at 741. Allowing the CFTC to wield Exemption 5

for the purpose of blocking public access to internal communications about the public messaging

of an agency decision would be “anathema to the operation of democratic government” and “def[y]

both the letter and the spirit of FOIA.” Id. at 741.

       In Day Laborer, the Plaintiff requested documents pertaining a federal immigration

enforcement program to ascertain the federal government’s legal basis for it. Nat’l Day Laborer

Org. Network, 811 F. Supp. 2d at 731. The Court held that discussions taking place after

substantive policy decisions were made were not exempt under the deliberative process privilege

because a document “is not privileged if it reflects the personal opinions of a writer with respect

to how to explain an existing agency policy or decision.” Id. at 741 (emphasis in original). The

court found that an email in which “what is being deliberated is not whether or not participation in

Secure Communities should be mandatory, but rather how that policy should be communicated to

the public[,]” was not protected by the privilege. Id. at 756.

       Similarly, in Fox News, the Plaintiff requested records concerning the federal bailout of

AIG, including talking points, press releases, and other public relations materials that the Treasury

claimed were pre-decisional because the relevant transactions “had not been finalized.” Fox News

Network, LLC v. U.S. Dep’t of the Treasury, 739 F. Supp. 2d 515, 543 (S.D.N.Y. 2010). The court

ordered the disclosure of several emails “concerning press relations,” finding that documents

consisting “entirely of . . . ‘messaging,’ i.e., public relations,” or documents related “to the

massaging of [the government]’s public image” are not protected by the deliberative process

privilege because they did not “reveal the status of internal deliberations on substantive policy

matters.” Id. at 546-47.




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           Here, the CFTC’s Vaughn index openly admits that the Public Affairs Documents concern

“what to communicate to the public about tentative settlement of claims in the Kraft case.” Dkt.

No. 35, Ex. 1 at 11. As in Day Laborer and Fox News, such discussions are not a protected part

of the deliberative process.

           As a final matter, the CFTC’s description of the Public Affairs Documents as involving a

“tentative” settlement is belied by the record.               An internal CFTC email confirms that the

Enforcement Staff “ha[d] a final [consent] order” ready on May 29, 2019, before the date of these

communications. Ex. G at 2. Moreover, it appears that the material terms of the Consent Order

were agreed as of at least a settlement conference on March 22, 2019. See Ex. A at 4. Even if the

Kraft settlement was “tentative” when the Public Affairs Documents were prepared, which it was

not, Exemption 5 still would not apply to documents pertaining to the public messaging of that

settlement. See Day Laborer, 811 F. Supp. 2d at 743.

                            b. The CFTC Is Improperly Applying FOIA Exemption 5 To Shield
                               Draft Press Releases.

           The CFTC is also improperly withholding all drafts of the Press Releases, 8 cryptically

asserting that “they involve deliberations . . . in a context that also includes sensitive matters.”9

Dkt. No. 35 at 7. To withhold a draft press release, the CFTC must prove that it formed an

“essential link” in a protected consultative process or, if released, would “inaccurately reflect or

prematurely disclose the views of the agency.” Seife, 298 F. Supp. 3d at 620. The CFTC’s Vaughn

index and the Bajorek Declaration do not satisfy either of these standards.

           The CFTC contends that the draft Press Releases relate to two “consultative process[es]”—

one concerning “how and what to communicate to the public” about the settlement, and one



8
    The Draft Press Releases are identified in Exhibit H hereto.
9
    The CFTC does not explain what these “sensitive matters” are.



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concerning the CFTC’s “litigation and settlement strategy.” (Dkt. No. 35, Ex. 1 at 11). As already

discussed above, communications concerning “how and what to communicate to the public” are

not protected by FOIA Exemption 5.

       The CFTC also fails to identify “the function and significance” of the draft Press Releases

to its purported litigation and settlement strategy. See Brennan Ctr. for Justice at New York Univ.

Sch. of Law v. Dep’t of Homeland Sec., 331 F. Supp. 3d 74, 96 (S.D.N.Y. 2018) (rejecting agency

rationale for withholding a document because it failed to detail the “function and significance” of

the document in a protected policy deliberation); see also Mayer, Brown, Rowe & Maw LLP v.

I.R.S., 537 F. Supp. 2d 128, 139 (D.D.C. 2008) (ordering draft press releases to “be produced in

their entirety because they d[id] not ‘bear on the policy formulation’”); Seife, 298 F. Supp. 3d at

620 (draft public statements not protected absent a finding that they “formed an essential link in a

specified consultative process[.]”). No such link is apparent. The final Press Releases do not on

their face reveal anything about the CFTC attorneys’ “litigation and settlement” strategy—and in

any event they have already been disclosed to the public. See Ex. B-D. Any contention that the

draft Press Releases were essential to such strategy is dubious for the additional reason that they

are all dated after the parties finalized the principal terms of the settlement. Accordingly, they

could not have been an “essential link” in formulating the settlement.

       Finally, the CFTC incorrectly asserts that the draft Press Releases would inaccurately or

prematurely portray agency positions. See Dkt. No. 35 at 7. There is no such risk because the

drafts would merely reveal the views of the particular individuals commenting; and the Press

Releases have already been issued. Moreover, if the draft Press Releases are anything like the

final Press Releases, they do not disclose any policy “positions” but simply message a Consent

Order with no findings of fact or conclusion of law to the public.




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                         c. The CFTC Is Improperly Applying FOIA Exemption 5 To Shield
                            The Settlement Messaging Documents.

        The CFTC has improperly asserted Exemption 5 to redact internal communications

discussing the CFTC’s responses to press inquiries after the settlement was published on August

14, 2019 (the “Settlement Messaging Documents”). 10 The CFTC’s theory appears to be that these

communications are “predecisional deliberative communications about what to communicate to

the public about settlement strategy related to the Kraft case” or “predecisional deliberative

information about settlement strategy[.]” Dkt. No. 35, Ex. 1 at 10, 61.

        Given that the CFTC admits the Settlement Messaging Documents concern “what to

communicate to the public,” they are not protectable under Exemption 5. “‘[D]eliberative’

discussions of how to portray … policies to the public . . . are not protected by the deliberative

process privilege[.]” Day Laborer, 811 F. Supp. 2d at 743. Nor can the CFTC avoid this result

simply by casting its discussions as purportedly related to its “settlement strategy.”                    The

communications occurred after the settlement was agreed and appear to concern only how to

describe the settlement to the press. Even if the communications discussed the reasons for the

settlement, “postdecisional memoranda setting forth the reasons for an agency decision already

made” are not a protected part of the deliberative process. Renegotiation Bd., 421 U.S. at 184.

                         d. The Public Relations Documents Are Not Entitled To Attorney-
                            Client Or Work Product Protection

        The CFTC also asserts attorney-client privilege and work-product protection over a number

of the Public Relations Documents. 11 Based on the nature of the documents, however, the CFTC

seems to be misapplying these protections.



10
  The Settlement Messaging Documents are identified in Exhibit H hereto.
11
  Documents for which the CFTC improperly asserts work product protection and the attorney client privilege are
identified in the “Asserted Grounds for Withholding” column of Exhibit H.



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        The attorney client privilege does not apply to documents regarding policy advice or the

proper handling of press inquiries or public messaging, regardless of whether such advice is

provided by an attorney. See Fox News, 739 F. Supp. 2d at 562 (finding that an email “solicit[ing]

. . . advice by Treasury [s]taff to Treasury [l]egal as to how best to handle a press inquiry[]” did

not constitute legal advice); In re Cty. of Erie, 473 F.3d 413, 419-20 (2d Cir. 2007) (recognizing

that “the predominant purpose of the communication [must be] to render or solicit legal advice”

rather than “advice on policy”). To the extent the CFTC seeks to invoke the attorney-client

privilege to withhold communications about policy or public messaging, that would be improper.

        Likewise, attorney work product protection does not apply to documents prepared (even if

by attorneys) “for public relations purposes.” New York Times Co. v. U.S. Dep’t of Def., 499 F.

Supp. 2d 501, 517 (S.D.N.Y. 2007). Courts routinely hold that such documents—for example,

press releases and other documents concerning the public messaging of litigation—are not within

the scope of attorney work product because the purpose of work product protection “is to provide

a zone of privacy for strategizing about the conduct of litigation itself, not for strategizing about

the effects of the litigation on the client’s customers, the media, or on the public generally.” Calvin

Klein Trademark Trust v. Wachner, 198 F.R.D. 53, 55 (S.D.N.Y. 2000); accord Chevron Corp.

v. Salazar, Case No. 11-cv-3718, 2011 WL 3880896, at *1 (S.D.N.Y. Sept. 1, 2011) (public

relations consultant’s analysis of the public reaction to a court judgment is not protected as work

product); Gucci Am., Inc. v. Guess?, Inc., 271 F.R.D. 58, 78 (S.D.N.Y. 2010) (work product

doctrine inapplicable to “publicity strategy”). Here, it appears that the Public Relations Documents

were not created for the purpose of litigation, but rather for the purpose of determining how and

what to communicate to the public about the Kraft settlement and the Press Releases themselves. 12


12
  Ultimately, Kobre & Kim lacks the detail necessary to fully evaluate the CFTC’s claims of attorney-client privilege
and attorney work product. Based on the nature of the Public Relations Documents, however, it appears that the



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                          e. The “Government Misconduct” Exception Bars The CFTC’s
                             Withholdings.

        Even if there were a sound basis for the CFTC’s application of the deliberative process

privilege to any of the Public Relations Documents, which there appears not to be, that privilege

is vitiated by the “government misconduct” exception to the FOIA Exemptions. It appears clear

that the CFTC in Kraft pursued a cynical strategy of negotiating a Consent Order with a gag

provision, all the while planning to violate that Consent Order by issuing the Press Releases as

soon as the Order was entered. The Kraft court has already held the CFTC in contempt, finding

its actions to amount to “egregious misconduct.” Minute Entry, Kraft, Case No. 15-cv-2881, Dkt.

No. 378 (N.D. Ill. Feb. 14, 2020). This Court should not allow the CFTC to hide that misconduct

behind dubious assertions of the deliberative process privilege or any other FOIA Exemption. See

In re Sealed Case, 121 F.3d at 738 (“[W]here there is reason to believe the documents sought may

shed light on government misconduct, the [deliberative process] privilege is routinely denied.”).

                 2. The CFTC Is Improperly Asserting FOIA Exemption 7(A).

        The CFTC asserts Exemption 7(A) (the law-enforcement exemption) as a basis for

withholding information from 1,218 (98%) of the redacted documents. Exemption 7(A) protects

from disclosure “records or information compiled for law enforcement purposes, but only to the

extent that production of such law enforcement records or information . . . could reasonably be

expected to interfere with enforcement proceedings[.]” 5 U.S.C. § 552(b)(7)(A). To withhold a

document pursuant to Exemption 7(A), the CFTC must show that the information was (1) complied

for law enforcement purposes and (2) that release of the information could reasonably be expected

to cause some articulable harm. See 5 U.S.C. § 552(b)(7)(A); see also Azmy v. U.S. Dep’t of Def.,



CFTC’s assertions of privilege are too broad. Accordingly, in the event the Court does not order these documents
produced outright, Kobre & Kim respectfully requests that the Court conduct an in camera review of these documents.
The documents for which Kobre & Kim requests in-camera review are listed in Exhibit H.



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562 F. Supp. 2d 590, 605 (S.D.N.Y. 2008). The CFTC cannot “simply assert that disclosure will

interfere with enforcement proceedings; it must rather demonstrate how disclosure will do so.”

Stein v. U.S. Securities and Exch. Comm’n, 266 F. Supp. 3d 326, 344 (D.D.C. 2017). That is, the

CFTC must show “release of the information could reasonably be expected to cause some

articulable harm.” See Azmy, 562 F. Supp. 2d at 605 (emphasis added).

        Here, the Public Relations Documents are not properly withheld under Exemption 7(A).

First, these documents—which concern the CFTC’s public messaging—do not appear to bear upon

any law enforcement purpose. To show that the documents were compiled for law enforcement

purposes, the CFTC would have to “establish a rational nexus between the agency’s activity in

compiling the documents and its law enforcement duties.” Brennan Ctr. for Justice, 331 F. Supp.

3d at 97 (emphasis added). Here, putting aside the CFTC’s conclusory assertions, it appears that

the Public Relations Documents pertain to public messaging, not law enforcement duties.

        Second, the CFTC has failed to demonstrate that disclosure would cause any cognizable

harm. The CFTC contends that virtually all of the documents it has withheld are exempt because

the “[Kraft] contempt motion is still pending” so “disclosure of pre-decisional internal

deliberations about those press releases could [] reasonably be expected to interfere with that

ongoing enforcement proceeding.” Dkt. No. 34 at 20-21. 13 But the CFTC already lost the

contempt motion due to its “egregious misconduct.” Minute Entry, Kraft, Case No. 15-cv-02881,

Dkt. No. 378 (N.D. Ill. Feb. 14, 2020). Moreover, it has not explained why making the Public

Relations Documents public would cause any harm to those proceedings, much less harm to its

unrelated law enforcement duties.           The contempt proceedings are ancillary to the CFTC’s

enforcement action—they were brought against the CFTC for violating the disclosure provision


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  The Public Relations Documents for which the CFTC has erroneously claimed Exemption 7(A) are identified in the
“Asserted Grounds for Withholding” column of Exhibit H hereto.



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of a settlement agreement. The requested information might be inconvenient or embarrassing to

the CFTC, but that is not the sort of “articulable harm” the exemption is concerned with. See Day

Laborer, 811 F. Supp. 2d at 749 (emails from Deputy Press Secretary were “no more deliberative

than those left unredacted, even if they are more embarrassing to the agency”).

               3. The CFTC Must Supplement Its Vaughn Index.

       The CFTC’s Vaughn index regurgitates the same four conclusory (and inadequate)

explanations for over 1,243 withheld or redacted documents, thereby impeding Kobre & Kim from

evaluating the withholdings. Here, the CFTC should be ordered to supplement its Vaughn index

to allow Kobre & Kim and the Court to meaningfully assess the merits of the remainder of its

withholdings and additional appropriate challenges. See Seife, 298 F. Supp. 3d at 631 (ordering

agency to supplement Vaughn index to account for deficiencies).

                                        CONCLUSION

       For the reasons set forth herein, Kobre & Kim respectfully requests the Court deny the

CFTC’s motion for summary judgment, grant Kobre & Kim’s cross-motion for summary

judgement, and order the CFTC to (A) extend its search to include August 20-21, 2019; (B)

produce the improperly withheld documents in their entirety; and (C) supplement its Vaughn index

to allow meaningful assessment of additional appropriate challenges to its withholdings.

       Dated: November 18, 2020                     Respectfully submitted,

                                                    /s/ Benjamin J.A. Sauter
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